Case 2:04-cv-02637-SHI\/|-dkv Document 26 Filed 06/30/05 Page 1 of 2 Page|D 35

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UNITED sTATEs DISTRICT coURT 'ED BY~~-~ D»C-
WESTERN DISTRICT OF TENNESSEE
wESTERN DIVISION 05 JUN 30 PH 22 112
WOW§ M. GOULD
CLEHK U.B, TF‘*F]'COU
W/DO`§} §"j=}\l “rijr.{;
ZURICH SPECIALTIES LONDON, LTD.,
Plaintiff,
v. Cv. No. 04-2637-Ma
RON MOORE, d/b/a R&J DISTRIBUTION,
PHILLIP MORRIS, USA; HUB GROUP
DISTRIBUTION SERVICES, and
DONN OSTRANDER, d/b/a MID SOUTH
DISTRIBUTION,
Defendants.
\JTJI)GHMIINHF
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that this action is dismissed

without prejudice, in accordance With the Order of Dismissal,
docketed June 27, 2005.

APPROVEZ:A %4 q 7

SAMUEL H. MAYS, JR.
U`NITED S'I‘ATES DIS'I‘RICT JUDGE

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(By) DEPUTY cLERKU

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with Hu|e 58 and/or 79(a) FRCP on § 13le " §§ 0

 

 

 

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Honorable Samuel Mays
US DISTRICT COURT

